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                    EXHIBIT A
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         IN THE CIRCUIT COURT OF THE EIGHTEENTH JUDICIAL CIRCUIT
                         DUPAGE COUNTY,ILLINOIS candiceAdams
                                                                        e-filed in the 18th Judicial Circuit Court
                                                                        DuPage County
                                                                        ENVELOPE: 15589578
     ANTHONY MCGOWAN; A.M., a Minor,                   )                2021L001202
     by and through his Guardian ANTHONY                                FILEDATE: 11/12/2021 8:32 PM
                                                       )                Date Submitted: 11/12/2021 8:32 PM
     MCGOWAN; and W.G., a Minor, by and                )                Date Accepted: 11/15/2021 1:59 PM
     through his Guardian WALTER                       )       No.      KS
     GALLIGAN!, individually and on behalf             )
     of similarly situated individuals,                )       Hon.         2021L001202
                                                       )
            Plaintiffs,                                )
                                                       )       JURY TRIAL DEMANDED
                            v.                         )
                                                       )
     ROBLOX CORPORATION, a Delaware                    )
     corporation; and VERIFF, INC., a                  )
     Delaware corporation,                             )
                                                       )
            Defendants.                                )
   _______________                                     )

                                 CLASS ACTION COMPLAINT

         Anthony McGowan; A.M., a minor, by and through his Guardian Anthony McGowan; and

 W.G., a minor, by and through his Guardian Walter Galligani, (collectively "Plaintiffs"),

 individually and on behalf of other similarly situated individuals, bring this Class Action

 Complaint against Defendants Roblox Corporation ("Roblox") and Veriff, Inc. (''Veriff")

 ( collectively "Defendants"), for their violations of the Illinois Biometric Information Privacy Act,

 740 ILCS 14/1, et seq. ("BIPA"), and to obtain redress for all persons injured by Defendants'

 conduct. Plaintiffs allege the fol1owing based on personal knowledge as to their own acts and

 experiences, and as to all other matters, upon information and belief, including an investigation

 conducted by their attorneys.




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                                          INTRODUCTION

         1.      Plaintiffs seek redress for Defendants' unauthorized collection of their biometric

 information and to represent classes of individuals who had their unique facial biometrics used

 witliout th.eir valid consent or authorization by Defendants when they interacted with Defendants'

 identity veri£'ication technology.

         2.      On behalf of themselves and the proposed Classes defined below, Plaintiffs seek an

 injunction requiring Defendants to comply with BIPA, as well as an award of statutory damages

 to the Classes, together with costs and reasonable attorneys' fees.

                                               PARTIES

         4.      At aIl relevant times, Plaintiff A.M., a tninor, and his Guardian, Plaintiff Anthony

 McGowan, have been residents and citizens of the state of Illinois.

         5.      At all relevant times, Plaintiff W.G., a minor, and his Guardian, Walter Galligani,

 have been residents and citizens of the state of Illinois.

                 Defendant Veriff, Inc. is a Delaware corporation that conducts business throughout

 Illinois, including in DuPage County, Illinois.

         7.      Defendant Roblox Corporation is a Delaware corporation that conducts business

 throughout Illinois, including in DuPage County, Illinois.

                                  JURISDICTION AND VENUE

         8.      This Court may assert personal jurisdiction over Defendants pursuant to 735 ILCS

 5/2-209 in accordance with the Illinois Constitution and the Constitution of the United States,

 because Defendants conduct business within this state and because Plaintiffs' claims a.rise out of

 Defendants' unlawful in-state actions, as Defendants captured, collected, stored, used and profited

 from Plaintiffs' biometric identifiers and/or biometric information in Illinois.
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          9.     Venue is proper in DuPage County, IlIinois pursuant to 735 ILCS 5/2-101, because

 Defendants conduct business in DuPage County, Illin.ois, and thus reside there under § 2-102.

                      THE BIOMETRIC INFORMATION PRNACY ACT

          10.   "Biometrics" refers to a"biology-based set[s] of ineasurements." Rivera v. Google

 Inc., 238 F. Supp. 3d 1088, 1094 (N.D. Ill. 2017). Specifically, "biometrics" are "a set of

 measurements of a specified physical component (eye, finger, voice, hand, face):'Id. at 1296.

          11.   BIPA was enacted in 2008 in order to safeguard individuals' biometrics as the result

 of the "very serious need [for] protections for the ci.tizens of Illinois when it [comes to their]

 biometric information:" Illinois House Transcript, 2008 Reg. Sess. No. 276. BIPA is codified as

 Act 14 in Chapter 740 of the Illinois Compiled Statutes.

          12.   As set forth in BIPA, biologically unique identifiers, such as a person's unique

 facial geometry, cannot be changed. 740 ILCS 14/5(c). The inalterable nature of biologically

 unique identifiers presents a heightened risk when an individuaI's biometrics are not protected in

 a secure and transparent fashion. 740 ILCS 14/5(d)-(g).

          13.   As a result of the need for enhanced protection of biometrics, BIPA imposes various

 requirements on private entities that colIect or maintain individuais' biometrics, including facial

 scans.

          14.   Among other things, BIPA seeks to regulate "the collection, use, safeguarding,

 handling, storage; retention, and destniction of biometric identifiers and information." 740 ILCS

 14/5(g). BIPA applies to entities that interact with either of two forms of biometric data: biometric

 "identifzers" and biometric "information." 740 ILCS 14/15(a)-{e).

          15.   BIPA defines a"biometric identifier" as any personal feature that is unique to an

 individual, including fingerprints, voiceprints, palm scans and facial geometry. "Biometric



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 identifiers" are physiological, as opposed to behavioral, characteristics. BIPA's text provides a

 non-exclusive list of protected "biometric identifiers," including "a retina or iris scan, fingerprint,

 voiceprint, or scan of hand or face geometry."740 ILCS 14/10.

         16.     "Biometric information" is defined by BIPA as "any information, regardless of how

 it is captured, converted, stored, or shared, based on an individual's biometric identifier used to

 identify an individual" Id. This definition helps ensure that information based on a biometric

 identifier that can be used to identify a person is covered by BIPA. Collectively, biometric

 identifr.ers and biometric infonnation are known as "biometrics."

         17.     In BIPA, the Illinois General Assembly identified five distinct activities thatmay

 subject private entities to liability:

                 a.       possessing biometrics without a proper policy publicly available, 740 ILCS
                          14/15(a);

                 b.      collecting, capturing, purchasing, receiving, or obtaining biometrics
                         without valid consent, 740 ILCS 14/15(b);

                 C.      selling, leasing, trading, or profiting from biometrics, 740 ILCS 14/15(c);

                 d.      disclosing or disseminating biometrics, 740 ILCS 14/15(d); and

                 e.      failing to secure biometrics using a reasonable standard of care, 740 ILCS
                         14/15(e).

         18.     As the Illinois Supreme Court has held, BIPA "codified that individuals possess a

 right to privacy in and control over their biometric identifiers and biometric information."

 Rosenbach v. Six Flags Entm't Corp., 2019 IL 123186, ¶ 33, 129 N.E.3d 11.97, 1206 (lll. 2019).

 The Illin.ois Supreme Court further held that when a private entity fails to comply with BIPA "that

 violation constittites an invasion, impairment, or denial of the statutory rights of anyperson or

 customer whose biometric identifier or biometric information is subjeet to the breach." Id.




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                              COMMON FACTUAL ALLEGATIONS

         19.     In order to provide its clients with biometric authentication services, Defendant

 Veriff developed a biometrically-enabled Application Programming Interface (or "API").

         20.     Defendant Veriff works with its clients to incorporate its API platf.orm into their

 mobile or internet-based appiications, where it collects and analyzes individuals' facial biometrics

 in order to authenticate their identities for its clients.

         21.     Veriff's API performs its identity verif cation by requiring the user to present some

 form of identification that features a picture of thenr face from which it collects a facial biometric

 blueprint, and then obtaining a"selfie" from a live picture of the user's face that it uses to collect

 a separate facial biometric blueprint, which it then compares to the one obtained from the

 identifying document. If Veriffls API determines that the facial biometrics from the two sets of

 pictures match, the user's identity is verified.

         22.     For example, Defendant Roblox utilizes Veriff's API platform to perform identify

 verification as part of the age screening process for users of its popular video game platform titled

 "Roblox."

         23.     Defendant Robl.ox is a video game developer most wi.dely known for the

 development of its game platform titled "Roblox." Roblox is a mobile application that can be

 installed on mobile phones and tablets that permits players access to thousands of games that are

 created on its Roblox platform. While Roblox featLues racing, adventure, action, and many other

 types of games, all of the games exist on the Roblox platform and feature a distinctive low-

 resolution "block" design that minimizes the realism of the games and makes them more

 appropriate for its players, the majority of whom are minors.




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        24.     Defendant's Roblox game boasts a daily active user rate of 43.2 million as of the

 second quarter in 2021.1

        25.     To allow its users to coinmunicate with one another, Roblox has traditi.onally had

 a chat function that allows users to talk to one another through written text communication. In an

 effort to enhance its Roblox platform and allow players a more connected playing experience, in

 September 2021 Roblox began to release a"Spatial Voice Feature" which allows its players to

 communicate with each other via their device's microphone so that it is as if they were talking to

 each other in the real worid.2

        26.     However, because the vast majority of its players are under the age of 18, with

 nearly half of its player base under the age of 13, in an effort to protect its younger players from

 potentially age-inappropriate language that might be heard through its Spatial Voice Feature,

 Roblox wor.ked with Veriff to implement a biometric authentication API to ensure that only users

 over the age of 13 would have access to the Spatial Voice Feature3

        27.     However, even though thousands of Roblox's players are Illinois residents,

 Defendants failed to 'implement necessary provisions to ensure that they complied with BIPA's

 requi.rements before obtaining their facial biometrics.

                              FACTS SPECIP`IC TO PLAINTIFFS

        28.     For example, in or about September 2021, Plaintiff A.M accessed his Roblox game

 account on a desktop computer to enable social capabilities, including RobIox's Spatial Voice




 1 www.statista.com/statistics/I192573/daily-active-users-global-roblox/.
 '- https://developer.roblox.com/en-us/articles/spatial-voice.
 3 www.techtimes.com/articles/265654/20210921/roblox-launches-age-verification-process-
 spatial-voice-user-generated-content.htm.
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 Feature. At this time, Plaintiff was asked to "Verify His Age" and was forwarded to an "Identity

 Verification" prompt that, as shown below, required him to scan a QR code using his ce11 phone.




        29.     When Plaintiff A.M. scanned the QR code on Roblox's website his cell phone

 browser was forwarded to "roblox.com/verify", which featured the below prompt and hosted

 Defendants' biometric identity verification API.
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         30.     After Piaintiff A.M. went forward with starting the identity verification "session,"

 as shovvn below, he was prompted to take a photo of valid photo ID document.




         31.     PlaintiffA.M. asked his father and Guardian, Plaintiff 11+icGowan, for his driver's

 license to complete Defendants' verification process, which Plaintiff McGowan provided.

         32.     Upon taking a picture of Plaintiff McGowan's driver's license, Defendants'

 biometric identity verification API extracted a biometric blueprin.t of Plaintiff McGowan's face

 from the photo on his driver's license.

         33.     After providing Plaintiff McGowan's driver's license, as the last part of the

 verification process, Plaintiff A.M. was finally asked to take a selfie picture. Upon taking a self e

 picture of his face, Defendants' API extracted a biometric blueprint of Plaintiff A.M.'s face from

 his sel.fie to compare it to the one extracted from Plaintiff McGowan, and accepted Plaintiff A.M.'s

 verification.

        34.      In or about September 2021, Plaintiff W.G. similarly went through the process of

 verifying his identity to enable Roblox's Spatial Voice Feature.

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          35.    Plaintiff W.G. interacted with the same prompts shown above that Plaintiff A.M.

  had to complete.

          36.     When.Plaintiff W.G. was asked to provide a picture of a valid photo ID document,

  he similarly asked his father and Guardian, Walter Galligani, for his driver's license.

         37.     Mr. Galligani provided his driver's license to Plaintiff W.G., who proceeded to take

  a picture of it to submit through Defendants' verification process.

         3$.     As with Plaintiff McGowan's driver's license, Defendants' biometric identity

  verification API extracted a biometric blueprint of Mr. Galligani's face from the photo on his

  driver's license.

         39.     After providing his father's driver's license, Plaintiff W.G. was asked to take a

 selfie picture. As with Plaintiff A.M., upon taking a selfie picture of his face, Defendants' API

  extracted a biometric blueprint of Plaintiff W.G.'s face from his selfie to compare it to the one

 extracted from his father's driver's license, and accepted Plaintiff W.G.'s verification.

         40.     Accordingly, Plaintiffs, like the other members of the Classes, had their facial

 biometrics collected, captured, and transmitted by Defendants' API platform

         41.     However, as shown above, Defendants failed to obtain valid written consent as

 required by BIPA to collect such biometric identifiers.

         42.     In addition, at the time Defendants collected and came into possession of Plaintiffs'

 facial biometrics, Defendant Roblox failed to make publicly available any written policy as to its

 retention and deletion practices regarding the biometrics in its possession.

         43.     Finally, Defendant Veriff unlawfully profited from the facial biometrics it obtained

 from Plaintiffs and the other members of the Classes. On information and belief, Roblox contracted

 with Veriff to provide biometric identity verification services either at a set flat cost or on a per-



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  user basis and thus Veriff profited directly from Plaintiffs' and other Class members' biometric

  data.

                                        CLASS ALLEGATIONS

          44.       Plaintiffs bring this action on behalf of themselves and two classes of similarly

  situated individuals pursuant to 735 ILCS § 5/2-801 as defined below:

          The RobIox Class: All persons within the state of Illinois whose facial biometric identifiers
          or biometric information were collected, captured, stored, disseminated, transmitted or
          otherwise used by Roblox Corporation any time within the applicable limitations period.

          The Veriff Class: All persons within the state of Illinois whose facial biometric identifiers
          or biornetric information were collected, captured, stored, disseminated, transmitted or
          otherwise used by Veriff, Inc. any time within the applicable limitations period.

          45.       Excluded from the Classes are any members of the judiciary assigned to preside

  over this matter, any officer or director of Defendants, and any immediate family member of such

  officer or director.

          46.       There 'are thousands of inembers of the Classes, making the members of the Classes

  so numerous that joinder of all members is impracticable. A.Ithough the exa.ct number of inembers

  of the Classes is currently unknown to Plaintiffs, the members can be easily identified through

  Defendants' records.

          47.       Plaintiffs' claims are typical of the claims of the Classes they seek to represent,

  because the basis of Defendants' liability to Plaintiffs 'and the Classes is substantially the same,

  and because Defendants' conduct has resulted in similar injuries to Plaintiffs and to the members

  of the Classes.

          48.       There are many questions of law and fact common to the claims of Plaintiffs and

 the Classes, and those qtiestions predominate over any questions that may affect individual




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 members of the Classes. Common questions for the members of the Classes include, but are not

 limited to, the followang:

              a. Whether Defendants collect, capture, or otherwise obtain facial biometric
                 identifiers or biometric information from Illinois residents;

              b. Whether Defendants obtained a valid written release before capturing, collecting,
                 or otherwise obtaining facial biometric identifiers or biometric information;

              c. Whether Defendant Veriff profited from the facial biometrics it captured from the
                 members of the Classes;

              d. Whether Defendant Roblox maintained a publicly available policy regarding the
                 facial biometrics it captured from the members of the Roblox Class;

              e. Whether Defendants' conduct violates BIPA;

              f. Whether Defendants' BIPA violations are vvillfial or reckless; and

              g. Wh.ether Plaintiffs and the Classes are entitled to damages and injunctive relief.

        49_      Absent a class action, most me.mbers of the Classes would find the cost of litigating

 their claims to be prohibitively expensive and would thus have no effective remedy. The class

 treatment of common questions of law and fact is superior to multiple individual actions or

 piecemeal litigation in that it conserves the resources of the courts and the litigants and promotes

 consistency and efficiency of adjudication.

        50.      Plaintiffs wil.l fairly and adequately represent and protect the interests of the other

 members of the Classes they seek to represent. Plaintiffs have retained counsel with substantial

 experience in prosecuting complex litigation and class actions, including BIPA class actions.

 Plaintiffs and their counsel are committed to vigorously prosecuting this action on behalf of the

 other members of the Classes and have the financial resources to do so. Neither Plaintiffs nor their

 counsel have any interest adverse to those of the other mernbers o£ the Classes.




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          51.     Defendants have acted and failed to act on grounds generally applicable to Plaintiffs

  and the other members of the Classes, requiring the Court's imposition of uniform relief to ensure

  compatible standards of conduct toward the members of the Classes and making injunctive or

  corresponding declaratory relief appropriate for the Classes as a whole.

                                             COUNT I
         Violations of the IIlinois Biometric Information Privacy Act, 740 ILCS 14/15(a)
                               Against Defendant Roblox Corporation
                          (On behalf of Plaintiffs and the Roblox CIass)

          52.     Plaintiffs incorporate the foregoing allegations as if fully set forth herein.

          53.     Defendant Roblox is a private entity under BIPA.

          54.     As discussed above, Plaintiffs and the other Roblox Class members have had their

  facial biometrics captured and collected, and thus obtained and possessed, by Defendant Roblox

  through its biometric identity verification API.

          55.     Section 15(a) of BTPA requires any entity in possession of biometric identifiers or

  biometric information to "develop a written policy, made available to the public, establishing a

  retention schedule and guidelines for permanently destroying biometric identifiers and biometric

  inform.ation when the initial purpose for collecting or obtaining such identifiers or information has

  been satisfied or within 3 years of the individual's last interaction with the private entity, whichever

  occurs first." 740 ILCS 14/15(a),

          56.     Though Defendant Robiox has come into possession of Plaintiffs' and other Roblox

  Class mennbers' f.acial biometric identifiers and/or infonnation, it has failed to make publicly

  available any policy addressing its biometric retention and destruction practices.

          57.     As a result, Defendant Roblox has violated Section 15(a) of BTPA.

          5&.     Defendant Roblox knew, or was reckless in not knowing, that, its utilization of a

  biometric identity verification API, which thousands o£ Illinois residents interacted with, would


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 be subject to 15(a) of BIPA, a statutory provision passed in 2008, yet failed to comply with the

 statute.

            59.      BIPA provides for statutory damages of $5,000 for each willful and/or reckless

 violation of BIPA and, alternatively, damages of $1,000 for each negligent violation of BIPA. 740

 ILCS 14/20(1)-(2).

            60.      Defendant Roblox's violations of Section 15(a) of BIPA, which has been in effect

 since 2008, were knowing and witlfial, or were at least in reckless disregard of the statutory

 requirements. Alternatively, Defendant negligen.tly failed to comply with Section 15(a) of BIPA.

            WHEREFORE, Plaintiffs, on behalf of themselves and the proposed Roblox Class,

 respectfully request that this Court enter an Order:

                  a. Certifying the Roblox Class as defined above, appointing Plaintiffs as class

                     representatives and the undersigned as class counsel;

                  b. Declaring that Defendant Roblox's actions, as set forth herein, violate BIPA;

                  c. Awarding injunctive and equitable relief as necessary to protect the interests of

                     Plaintiffs and the Roblox Class by requiring Defendant Roblox to comply with

                     :m
                  d. Awarding statutory damages of $5,000 for each -vvillful and/or reckless violation of

                     the BIPA, pursuant to 740 ILCS 14/20(2);           ,

                  e. Awarding statutory damages of $1,000 for each negligent violation of the BIPA,

                     pursuant to 740 ILCS 14/20(1);

                  f. Awarding reasonable attorneys' fees, costs, and other litigation expenses, pursuant

                     to 740 ILCS 14/20(3);

                  g. Awarding pre- and postjudgment interest, as allowable by law; and



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                h. Awarding such further and other relief as the Court deems just and equitable.

                                             COUNT 11
         Violations of the Illinois Biometric Information Privacy Act, 740 ILCS 14/15(b)
                                        Against Defendants
                (On behalf of Plaintiffs and the RobIoz Class and the Veriff CIass)

          61.      Plaintiffs incorporate the foregoing allegations as if fully set forth herein.

          62.      Defendants are private entities under BIPA.

          63.      As discussed above, Piaintiffs and the other members of the Classes have had their

  facial biornetrics, ea.tracted, collecteci, captured, and otherwise obtained by Defendants as a r.esult

  of interacting with Defendants' biometric identity verification API.

          64.      BIl'A requires private entities, such as Defendants, to obtain infonned written

  consent from individuals before acquiring their biometric identifiers or biometric information.

  Specifrcally, BIPA makes it unlawful to "collect, capture, purchase, receive through trade, or

  otherwise obtain a person's or customer's biometric identifiers or biometric information unless

  [the entity] first: (1) informs the subject ... in writing that a biometric identifier or biometric

  inf.ormation is being collected or stored; (2) informs the subject ... in writing of the specific

 purpose and length of for whicb a biometric identifier or biometric information is being captured,

  collected, stored, and used; and (3) receives a written release executed by the subject of the

 biometric identifier or biometric infonnation ...:" 740 ILCS 14/15(b).

         65.       Each instance when Defendants' API used pictures of Plaintiffs' and the other

 members of the Classes' faces for identity verification, Defendants extracted captured, collected

 or otherwise obtained Plaintiffs' and the other Veriff and Roblox Class members' facial biometric

  identifiers and/or information without their valid written consent and without complying with, and,

 thus, in violation of BIPA.




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         66.        Defendants' practice with respect to capturing, collecting, obtaining, storing, and

  using biometrics fails to comply with applicable BIPA requirements:

                a. Defendants failed to inform Plaintiffs and the mernbers of the Classes in writing

                    that their biornetrics were being collected, prior to such collection, as required by

                    740ILCS 14/15(b)(1);

                b. Defendants failed to inform Plaintiffs and the Classes in writing of the specif c

                   purpose for which their biometrics were being captured, collected, stored, and used,

                   as required by 740 ILCS 14/15(b)(2);

                c. Defendants failed to inform Plaintiffs and the Classes in writing the specific length

                   of term their biometrics were being captured, collected, stored, and used, as

                   required by 740 ILCS 14/15(b)(2); and

                d. Defendants failed to obtain a written release, as required by 740 ILCS 14/15(b)(3).

         67.       As a result, Defendants have violated Section 15(b) of BIPA.

         68.       Defendants knew, or were reckless in not knowing, that its biometric identity

 verification API technology, which thousands of Illinois residents interacted with, would be

 subject to Section 15(b) of BIPA, a statutory pr.ovision passed i.n 2008, yet failed to comply with

 the statute.

         69.       BIPA provides for statutory damages of $5,000 for each willful and/or reckless

 violation ofBIPA and, alternatively, damages of $1,000 for each negligent violation of BIPA. 740

 ILCS 14/20(1)-(2).

         70.       Defendants' violations of BIPA, a statutory provision that has been in effect since

 2008, were knowing and willful, or were at least in reckless disregard of the statutory requirements.

 Alternatively, Defendants negligently failed to comply with Sections 15(a) and 15(b) of BIPA_



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         WHERBFORE, Plaintiffs, on behalf of themselves and the proposed Classes, respectfully

  requesta that this Court enter an Order:

               a. Certifying the Classes as defined above, appointing Plaintiffs as class

                  representatives and the undersigned as class counsel;

               b. Declaring that Defendants actions, as set forth herein, violate BIPA;

               c. Awarding injunctive and equitable relief as necessary to protect the interests of

                  Plaintiffs and the Classes by requiring Defendants to comply with B1PA;

               d. Awarding statutory damages of $5,000 for each willful and/or reckless violation of

                  the BIPA, pursuant to 740 ILCS 14/20(2);

               e. Awarding statutory damages of $1,000 for each negligent violation of the BIPA,

                  pursuantto 740ILCS 14/20(1);

               f. Awarding reasonable attomeys' fees, costs, and other litigation expenses, pursuant

                  to 740 ILCS 14/20(3);

               g. Awarding pre- and post judgrnent interest, as allowable by law; and

               h. Awarding such further and other relief as the Court deems just and equitable.

                                           COUNT III
        Violations of the Illinois Biometric Information Privacy Act, 7401LCS 14/15(c)
                                  Against Defendant Veriff, Inc.
              (On behalf of Plaintiffs and the Roblox CIass and the Veriff Class)

         71.      Plaintiffs incorporate the foregoing allegations as if fully set forth herein.

         72.      Defendant Veriff is a private entity under BIPA.                      ,

         73.      As discussed above, Plaintiffs and the other members of the Classes have had their

 facial biometrics, collected, captured, and obtain.ed by Defendant Veriff as a result of interacting

 with Defendants' biometric identity veriBcation API.




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         74.       Section 15(c) of BIPA prohibits any private entity in possession of biometrics, such

 as Defendant Veriff, from selling, leasing, trading, or otherwise profiting from such biometrics.

 740ILCS 14/15(c).

         75.       As alleged herein, Defendant Veriff profited from the facial biometrics it obtained

 from members of the Classes, including Plaintiffs, as Defendant Veriff provides its biometric

 identification technology at a cost to its customers such as Defendant Roblox and others.

        76.        Accordingly, Defendant Veriff has violated Section 15(c) of BIPA.

         77.       Defendant Veriff knew, or was reckless in not lrnowing, that its biometric API

 technology would be subject to the provisions of Section 15(c) of BIPA, a statutory provision in

 effect since 2008, yet failed to comply with the statute.

        78.       BIPA provides for statutory damages of $5,000 for each willful and/or reckless

 violation of BIPA and, altematively, damages of $1,000 for each negligent violation of BIPA. 740

 ILCS 14/20(1)-(2).

        79.       Defendant Veriff's violations of Section 15(c) of BIPA, a statutoiy provision that

 has been in effect since 2008, were knowing and willfizl, or were at least in reckless disregard of

 the statutory requirements. Alternatively, Defendant Veriff negligently failed to comply with

 Section 15(c) of BIPA.

        WHEREFORE, Plaintiffs, on behalf of themselves and the proposed Classes, respectfuIly

 requests that this Court enter an Order:

               a. Certifying the Classes as defined above, appointing Plaintiffs as class

                  representatives and the undersigned as class counsel;

               b. Declaring that Defendant Veriff s actions, as set forth herein, violate BIPA;




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             c. Awardixzg injunctive and equitable relief as necessary to protect the interests of

                 Plaintiffs and the Classes by requiring Defendant Veriff to comply with BIPA;

             d. Awarding statutory damages of $5,000 for each willful and/or reckless violation of

                 the BIPA, pursuant to 740 ILCS 14/20(2);

             e. Awarding statutory damages of $1,000 for each negligent violation of the BIPA,

                 pursuant to 740 ILCS 14/20(1);

             f. Awarding reasonable attorneys' fees, costs, and other litigation espenses, pursuant

                 to 740 ILCS 14/20(3);

             g. Awarding pre- and post judgment
                                          ZP
                                                interest, as allowable by law; and

             h. Awarding such further and other relief as the Court deems just and equitable.

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         Plaintiffs request a trial by jury of all claims that can be so tried.

 Dated: November 12, 2021                                    Respectfitlly Submitted,
                                                             ANTHONY MCGOWAN, A.M., a Minor,
                                                             by and through his Guardian ANTHONY
                                                             MCGOWAN, and W.G., a Minor, by and
                                                             through. his Guardian WALTER
                                                             GALLIGANI, individually and on behalf
                                                             of similarly situated individuals

                                                            By:       /s/ Timothv P. Kingsbury
                                                                      One of Plaintfffs' Attorneys
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 Attorneysfor Plaintiffs and the Putative Classes

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                             EXHIBIT 4
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          IN THE CIItCUIT COURT OF TIIE EIGRTEENTIit J-UDICIAL CIRCUIT
                           DUPAGE COUNTY, ILLINOIS Candice Adams
                                                                         e-filed in the 18th Judiciaf Circuit Court
                                                                         DuPage County
     ANTHONY MCGOWAN, A.M., a Minor,                                     ENVELpPE: 15636907
     by and through his Guardian ANTHONY                                 2021L001202
     MCGOWAN, and W.G., a Minor, by and                                  FILEDATE: 11/17/2021 11:52 AM
                                                                         Date Submitted: 11/17/2021 11:52 AM
     through his Guardian WALTER                                         Date Accepted: 11/18/2021 7:27 AM
     GALLIGANI, individually and on behalf                               KS
     of similarly situated individuals,                         No. 2021L001202

             Plainti,ffs,

                             V.                                 Hon. Bryan S. Chapman

     ROBLOX CORPORATION, a Delaware
     corporation; VERIFF, INC., a Delaware
     corporation.

             Defendants.

     PLAINTIFFS' MOTION FOR CLASS CERTIFICATION OR, ALTERNATIVELY,
     FOR A DEFERRED CLASS CERTIFICATION RULING PENDING DISCOVERY

         Anthony McGowan, A.M. a minor, by and through his Guardian Anthony McGowan, and

  W.G. a minor, by and through his Guardian Walter Galligani, (collectively "Plaintiffs"), by and

 through their undersigned counsel, pursuant to 735 1LCS 5/2-801, move for entry of an order

 certifying the Classes proposed below, appointing Plaintiffs as CIass Representatives, and

 appointing Plaintiffs' attorneys as Class Counsel. Alternatively, Plaintiffs request, to the extent the

 Court detennines further evidence is necessary to prove any eiement of 735 ILCS 5/2-801, that the

 Court defer consideration of this Motion pending a reasonable period to complete discovery. See,

 e.g., BallaYd RN Center, Inc. v. Kohll's Pharmacy & HomecaYe, Inc., 2015 IL 118644, at ¶j 42--

 43 (citing Daniasco v. Cleanvire Corp., 662 F.3d 891, 896-97 (7th Cir. 2011). In support of their

 Motion, Plaintiffs submit the following Memorandum of Law.
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  Dated: November 17, 2021                          Respectfully Submitted,
                                                    ANTHONY MCGOWAN, A.M., a Minor,
                                                    by and through his Guardia.n ANTHONY
                                                    MCGOWAN, and W.G., A Minor, by and
                                                    through his Guardian WALTER
                                                    GALLIGANI, individually and on behalf
                                                    of siinilarly situated individuals

                                                    By:   /s/ Timoth, P. Kingsbury
                                                          One of Plaint~s' AttoYneys
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  Timothy P. Kingsbury
  Colin P. Buscarini -
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 Attorneysfor Plafntiffs and the Putative Classes




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              MEIVIORANDUM OF LAW IN SUPPORT OF PI.AINTIFFS'
           M[OTION FOR CLASS CERTIFICATION OR, ALTERNATIEY, FOR
        A DEFFERED CLASS CERTIFICATION RULING PENDING DISCOVERY

         This Court should certify two classes of Illinois residents whose biometries were obtained

 by Defendants Roblox Corporation ("Robl.ox") and Verif.f, Inc. ("Veriff') in violation of the

 Illinois Biometric Information Privacy Act, 740 ILCS 14/1, et seq. (`BIPA"). Defendant Veriff

 provides its clients with biometric authentication services through an Application Programming

 Interface ("API"). (Complaint, "Compl.," at ¶ 19.) Veriff works with its clients to incorporate its

 API i.nto their mobile or internet-based applications, where it collects and analyzes individuals'

 facial biometrics in order to authenticate their identities. (Id. at ¶ 20.) For example, Defendant

 Roblox implemented Veriff's API into its popular mobile game platform of the same name,

 "Roblox," to perform identity verification as part of an age screening process to allow players of

 the game access to certain features. (Id. at 122.) In doing so, Defendants have violated BIPA

 because Defendant Roblox failed to make publicly available a valid policy regarding its retention

 and deletion policies for the biometrics it obtained, Defendants failed to obtain valid written

 consent to gather Plaintiffs' and the other members of the classes' biometrics, and Defendant

 Veriff profited from Plaintiffs' and the other members of the classes' biometrics. (Id. at ¶¶ 56, 66,

 75.) After Plaintiffs "learned of Defendants' wrongfial conduct, they brought suit on behalf of

 classes of similarly situated individuals to put a stop to Defendants use of their biometrics in

 violation of BIPA, and to obtain redress for a11 persons injured by their condtict.

 T.     INTRODUCTION: BIPA

        The Illinois Biometric Information Protection Act is designed to protect individuals'

 biometrics. "Biometrics" refers to a"biology-based set[s] of ineasurements." Rfvera v. Google

 Inc., 238 F. Supp. 3d 1088, 1094 (N.D. 111. 2017). Specifically, "biometrics" are `°a set of



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 measurements of a specified physical component (eye, finger, voice, hand, face)." Rivera, 238 F.

 Supp. 3d at 1296. Under BIPA, biometric identifers include handprints, fingerprints and

 voicepi-ints; while biometric information can be defined as any information based on a biometric

 identifier, regardless of how it is converted or stored. (Compl. at ¶¶ 1, 6-7.)

         In recognition of the importance of the security of individuals' biometrics, the IlIinois

 Legislature enacted BIPA, which provides, inter alia, that private entities, such as Defendants,

  may not obtain and/or possess an individual's biometrics unless they publish publicly and make

 available a written retention schedule and guidelines for perm.anently destroying biometric

  identifiers and biometric information. 740 ILCS 14/15(a); Compl. at 117. In addition, BIPA also

  requires that any entities such as Defendants obtain valid written consent before receiving any

 biometrics. 740 ILCS 14/15(b); Compl. at 117. Furthermore, BIPA prohibits private companies

 from selIing, leasing, trading, or otherwise profiting from a person's biometric identifier or

  biometric information. 740 ILCS 14/15(c); Compl. atT 17.

 II.     FACTUAL BACKGROUND

         A.      The Underlying Misconduct.

         Defendant Veriff provides its clients with biometric authentication services through. an

 A.PI. (Compl. at 119.) Veriff works with its clients to incorporate its API into their mobile or

  internet-based applications, where it collects and analyzes individuals' facial biometrics in order

 to authenticate their identities. (Id. at 20.) For example, Defendant Roblox implemented Veriff's

  API into its popular mobile game platform of the same name, "Roblox," to perform identity

  verification as part of an age screening process to allow players of the game access to certain

  features. (Id. at ¶ 22.) Specifically, in September 2021 Defendant Roblox sought to release a

 "Spatial Voice Feature" that would allow players of its game to talk to each other through their



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  mobile device's microphone. (Compl. at 125.) However, because Defendant Roblox's game

  platform is overwhelmingly used by players who are minors, in an effort to prevent minors from

  being exposed to age-inappropriate language through the new voice chat feature, Roblox worked

  with Veriff to impleinent a biometric authentication API. (Id. at ¶ 26.)

         Defendants' biometric identity verification AP1 operated by requesting that the user of

  Roblox's game platform wlio wanted to gain access to the Spatial Voice Feature scan a QR code

  from their account page with their cell phone that opened a webpage hosted by Roblox where. the

  API operated. (Id. at 1128, 29.) The user, I.ike Plaintiffs did here, is then asked to use their cell

  phone to take a picture of a government-issned identification document. (Id. at 130.) Defendants'

  biometric identity verification API then extracts the facial biometric blueprint of the face featured

  on the ID document provided. (Id. at ¶ 32.) Defendants' verifzcation process then asks the ii,ser to

  provide, as Plaintiffs A.M. and W.G. did here, a selfie picture of their face, which Defendants'

  API uses to extract another facial biornetric blueprint against which it compares the facial

  biometrics that it obtained from the LD document. (Icl. at ¶ 32.)

         However, while thousands of individuals Iocated in lllinois, including Plaintiffs and the

  other members of the Classes, had to undergo Defendants' facial biometric verification process,

  Defendants failed to obtain valid written consent as required by BIPA to collect such biometric

  identifiers. (Id. at ¶ 41.) Furthermore, Roblox failed to make publicly available a valid written

  policy as to i₹s retention and deletion practices regarding the biometrics it gathered. (Id. at 142.)

  Defendant Veriff also unlawfully profited from the facial biometrics it obtained from Plaintiffs

  and the other members of the Classes. (Id. at ¶ 43.)




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         B.       The Proposed Classes

         Plaintiffs bring this action on behalf- of themselves and similarly situated individuals

 pursuant to 735 ILCS § 5/2-801. Plaintiffs seek to represent the Classes defined as follows:

                 The Robloz Class: All persons within the state of Illinois whose facial biometric
                 identifiers or biometric information were collected, captured, stored, dissemin.ated,
                 transmitted or otherwise used by Roblox Corporation any time within the applicable
                 limitations period.

                 The Veriff Class: All persons within the state of Illinois whose facial biometric
                 identifiers or biometric information were collected, captured, stored, disseminated,
                 transmitted or otherwise used by Veriff, Inc. any time within the applicable
                 limitations period.

  (Compl. at ¶ 44.) As explained below, the proposed Classes satisfy each of the four requirements

 for certification under Section 2-801 of the Illinois Code of Civil Procedure—numerosity,

 commonality, adequaey of representation, and fair and efficient adjudication. A class aetion is not

 just appropriate here, it is also the only way that the members of the putative Classes can obtain

 appropriate redress for Defendants' unlawful conduct.

 III.     ARGUMENT

          A.      Standards for Class Certification

          To obtain class certification, it i.s not necessary for a piaintiff to establish that she tivill

 prevail on the merits of the action. Efsen v. Carlfsle & Jacquelzn, 417 U.S.156,178 (1974) ("[T]he

  question is not whether the plaintiff or plaintiffs have stated a cause of action or will prevail on the

 merits, but rather whether the requirements of Rule 23 are met." (internal quotation marks and

  citation omitted)). As such, in determining whether to certify a proposed class, the Court should

  accept the allegations of the complaint as true. Ramfrez v. Midway Movfng & Storage, Inc., 378

 II1. App. 3d 51, 53 (lst Dist. 2007).

          To proceed with a class action, the movant must satisfy the "prerequisites for the



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 maintenance of a class action" set forth in Section 2-801 of the Illinois Code o£ Civil Procedure,

 which provides:

         An action may be maintained as a class action in any court of this State and a party
         may sue or be sued as a representative party of the class only if the court finds:

         (1)     The class is so numerous that joinder of ali raembers is
                 impracticable.
         (2)     There are questions of fact or law common to the class, which
                 common questions predominate over any questions affecting only
                 individual members.
         (3)     The representative parties wilI fairly and adequately protect the
                 interest of the class.
         (4)     The class action is an appropriate method for the fair and efficient
                 adjudication of the controversy.

 735 ILCS 5/2-801. As demonstrated below, each prerequisite is established for the Classes, and

 the Court should therefore certify the proposed Classes.

         Section. 2-801 is modeled after Rule 23 of the Federal Rules of Civil Procedure and "federal

 decisions interpreting Rule 23 are persuasive authority with regard to questions of class

 certification in Illinois." Avery v. ,State Farm Mirt. Auto. Ins. Co., 216 Ill. 2d 100, 125 (Ill. 2005).

 Circuit courts have broad discretion in determining whether a proposed class meets the

 requi.r.ement for class certification. and ought to err in favor of m.aintaining class certi.fication.

 Rarrcirez, 378 Ill. App. 3d at 53. While a court may rule on class certification without requiring

 further discovery, see IVianual for Complex Litigation (Fourth) § 21.14, at 255 (2004), courts have

 found that discovery is helpful prior to addressing a motion for class certification. See, e.g., Ballaf•d

 RN Center, Inc, v. Kohll's Pharniacy 8z Honzecare, Inc., 201.5 IL 118644, at ¶ 42 ("If the parties

 have yet to fully develop the facts needed for certification, then they can also ask the district court

 to delay its ruling to provide time for additional discovery or investigation.") (quoting Damasco v.

 CleaYwiYe Corp., 662 F.3d 891, 896 (7th Cir. 2011)).

         All the prerequisites for class certification are satisfied here, even though Plai.ntiffs have


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 not yet had an opportunity to engage in and complete discovery. However, in the interests of

 establishing a more fully developed record before ruiing on class certification issues, the Court

 should defer ruling on this Motion pending the completion of discovery and submission of

 supplemental briefing.

         E.      The Numerosity Requirement is Satisfied

         The first step in certifying a class is a showing that "the class is so numerous that joinder

 of all members is impracticable." 735 ILCS 5/2-801(1). This requirement is niet when "join[ing]

 such a large number of plaintiffs in a single suit woul.d render the suit unmanageable and, in

 contrast, multiple separate claims would be an imposition on the litigants and the courts." Gordon

  v. Boden, 224 Ill. App. 3d 195, 200 (lst Dist. 1991) (citing Stetnberg v. Chicago Mecl. Sch., 69

 II1.2d 320, 337 (III. 1977)). To satisfy this requirement a plaintiff need not demonstrate the exact

 number of class members but, must offer a good faith estirnate as to the size of the class. Smith v.

 Nike Retail Servs., Inc., 234 F.R.D. 648, 659 (N.D. III. 2006).

         I'laintiffs allege that there are thousands of inembers of the Classes. (Compl. at 146.) In

 addition, given the massive number of individuals who play Defendant Roblox's game, and the

 fact that Defendant Veriff provides its biometric identity verihcation services to numerous other

 entities, there is little question that there is a significant number of inembers of the Classes.

 Because definitive evidence of numerosity can only come from the records of Defendants and their

 agents, it is proper to rely upon the allegations of the Complaint in certifying the Classes. See 2 A.

 Conte & H. Newberg, Newberg on Class Actions § 7.20, at 66 (stating that where numerosity

 information is in the sole possession of the party opposing the class, courts generally rely on the

 complaint as prima facie evidence or defer ruling).

         Additionally, the members ofthe putative Classes can be easily and objectively determined



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  frorn Defendants' records as Defendants maintain records of all of the individuals whose identities

 they verified and their contact information. Furthermore, it would be completely impracticable to

 join the claims of the members of the Classes, because they are disbursed throughout Illinois, and

 because absent a class action, few members could aff.ord to bring an individual lawsuit over the

  amounts at issue in this case, because each individual member's claim is relatively small. See

  Gordon, 224 III. App. 3d at 200. Accord'zngly, the first prerequisite for class certification is met.

         C.      Common Questions of Law and Fact Predominate

         The second requirement of Section 2-80] (2) is met where there are "questions of fact or

  law common to the class" and those questions "predominate over any questions affecting only

  ttzdividual members:" 735 ILCS 5/2-801(2). Such common questions of law or fact exist when the

 members ofthe proposed class have been aggrieved by the same or similar misconduct. See illiner

 v. Gillette Co., 87 I11:Zd 7, 19 (Ill. 1981); Stefnberg, 69 IlI.2d at 342. These common questions

 must also predominate over any issues affecting individual class members. See O-Kay Shoes, Inc.

 v. Rosewell, 129 Ill. App. 3d 405, 408 (I st Dist. 1984). Tliese common questions include: whether

 Defendants collect, capture, or otherwise obtain facial biometrics from Illinois residents who

 underwent their age/identity verification process; whether Defendant Roblox had a valid publicly

 available policy regarding its retention and deletion of biometric information; whether Defendant

 Veri£f profited from Plaintiffs' and the other Classes biometrics; whether Defendants failed to

 obtain valid written consent to gather the facial biometrics that they obtained; whether Defendants'

 conduct violates BIPA; whether Defendants' BIPA viol.ations are willf.ul or reckless; and whether

 PlaintifFs and the Classes are entitled to damages and injunctive relief. (Compl. at 148.)

         As alleged, and as will be shown through obtainable evidence, during the relevant time

 period Defendants engaged in a common course of conduct by collecting, capturing, storing, or



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 profiting from the Classes' facial biometrics without having a valid publicly available policy in

  place regarding the retention and deletion of the biometrics collected and without obtaining vaiid

  consent to engage in such collection. Any potential individualized issues remaining after common

  issues are decided would be de mznimis. Accordingly, common issues of fact and law predonunate

  over any individual issues, and Plaintiffs have satisfied this hurdle to certification.

         D.      Adequate Representation

         The third prong of Section 2-801 requires that `°[t]he representative parties will fairly and

  adequately protect the interest of the class:' 735 ILCS 5/2-801(3). The class representative's

  interests must be generally aligned with those of the class members, and class counsel must be

 "qualif ed, experienced and generally able to conduct the proposed litigation." See Miner, 87 III.2d

  at 14; see also Eshaghi v. Hanley Dawson Cadillac Co., lnc., 214 Ill. App. 3d 995, 1000 (1 st Dist.

 1991). The purpose of this adequaoy of representation requirement is "to insure that all Class

 members will receive proper, efficient, and appropriate protection of their interests in the

 presentation of the claim." Purcell & Wardrope Chtd v. Hert: Corp., I75111. App. 3d 1069, 1078

  (lst Dist. I988).

         In this case, PlaintifPs have the exact same interests as the members of the proposed

  Classes. Plaintiffs have alleged that, like the other members of the Classes, their facial biometrics

 were obtained by Defendants through their biometric verification process in violation of BIPA.

 (Compl. at ¶j 2839.) Plaintiffs' pursuit of this matter against Defendants demonstrates that they

 wilI be zealous advocates for the Classes. Purther, proposed class counsel has regularly engaged

  in major complex and class action litigation in state and federal courts and have been appointed as

 class counsel in several complex consumer class actions. Accordingly, the proposed class

 representatives and proposed class counsel will adequately protect the interests of the inembers of



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 the Classes, thus satisfying Section 2-801(3).

         E.      Fair and Efficient Adjudication of the Controversy

         The ftnal requirement for class certification under 5/2-801 is met where "the class action

  is an appropriate method for the fair and efficient adjudication ofthe controversy." 735 ILCS 5/2-

 801(4). "In applying this prerequisite, a court considers whether a class action: (1) can best secure

 the economies of time, effort and expense, and promote uniformity; or (2) accomplish the other

  ends of equity and justice that class actions seek to obtain:" Gordon, 224 Ill. App. 3d at 203. In

 practice, a"holding that the first three prerequisites of section 2-801 are established makes it

 evident that the fourth requirement is fulfilled." Gordon, 224 Ill. App. 3d at 204; Pzcrcell &

  Wardrope Chtd., 175 Ill. App. 3d at 1079 ("The predominance of common issues [may] make a

 class action ...    a fair and efficient method to resolve the dispute."). Because numerosity,

 commonality and predominance, and adequacy of representation have been satisfied in the instant

 case, it is "evident" that the appropriateness requirement is met as well.

         Other considerations further support certification in this case. A"controlling factor in many

 cases is that the class action is the only practical means for class members to receive redress:'

 Gordon, 586 N.E.2d at 467; Eshaghi, 574 N.E.2d at 766 ("In a large and impersonal society, class

 actions are often the last barricade of...protection:'). A class. action is superior to multiple

 individual actions "where the costs o£ litigation are high, the likely recovery is Iimited" and

 individtials are unlikely to prosecute individual claims absent the cost-sharing efficiencies of a

 class action. Maxwell, 2004 WL 719278, at *6. This is especially true in cases involving data

 privacy violations and data breaches, which can involve significant injury to the those effected,

 but result in many small, individual claims. Here, absent a class action, most members of the

 Classes would find the cost of litigating their statutorily-limited claims to be prohibitive, and



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 multiple individual actions would be judicially inefficient. Maxwell, 2004 WL 719278, at*6.

         Certification of the proposed Classes is necessary to ensure that Defendants' conduc₹

  becomes compliant with BIPA, to ensure that the Classes' privacy rights in their biometrics are

 sufficiently protected, and to compensate those individuals who have had their statutorily-

 protected privacy rights violated. Were this case not to proceed on a class-wide basis, it is unlikely

 that any significa.nt number of inembers of the Classes would be able to obtain redress, or that

 Defendants would willingly implement the procedures necessary to comply with the statute. Thus,

 proceeding as a class action here is an appropriate method to fairly and efficiently adjudicate the

 controversy.

 IV.     CONCLUSION

         For the foregoing reasons, the requirements of 735 1LCS 5/2-801 are satisfied. Plaintiffs

 respectfully request that the Court enter an Order certifyin.g the proposed Classes, appointing

 Plaintiffs as Class Representatives, appointing McGuire Law, P.C. as Class Counsel, and awarding

 such additional relief as the Court deems reasonable. Alternatively, the Court should defer ruling

 on this lvlotion pending the completion of appropriate discovery and supplemental brief ng.


 Dated: November 17, 2021                      Respectfully Submitted,

                                               ANTHONY MCGOWAN, A.M., a Minor,
                                               by and through his Guardian ANTHONY
                                               MCGOWAN, and W.G., a Minor, by and
                                               through his Guardian WALTER
                                               GALLIGANI, individually and on behalf
                                               of similarly situated individuals

                                               By: /s/ Timothy P. KinCs_bury
                                                  One of Plaint~  s' Attorneys




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                                    CERTIFICATE OF FILING

         The undersiaed, an attorney, hereby certifies that on November 17, 2021, a copy of

 Plaintiffs' MotionfoY Class Certificatfon or, Alternatively, for a Deferred Class Certification Ruling

 Pending Discovery was filed eleciaronically with the Clerk of Court using the e-filing system.



                                                       /s/ Timothy P. Kingsbury_




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                             EXHIBIT 5
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                                IN THE UNITED STATES DISTRICT COURT FOR THE
                                       NORTHERN DISTRICT OF ILLINOIS
                                              EASTERN DIVISION

            ANTHONY MCGOWAN; A.M., a Minor, by                         Case No. __________
            and through his Guardian ANTHONY
            MCGOWAN; and W.G., a Minor, by and
            through his Guardian WALTER GALLIGANI,
            individually and on behalf of similarly situated
            individuals,

                                      Plaintiffs,

                     v.

            ROBLOX CORPORATION, a Delaware
            Corporation; and VERIFF, INC., a Delaware
            corporation,

                                      Defendants.



                               DECLARATION OF KAAREL KOTKAS IN SUPPORT OF
                                          NOTICE OF REMOVAL


                     I, Kaarel Kotkas, hereby declare:

                     1.      I am the President of Veriff, Inc., (“Veriff”) a defendant in the above-captioned

            matter. I make this declaration in support of Veriff’s Notice of Removal. This declaration is

            based on my own personal knowledge. If called upon as a witness, I would and could testify

            competently to the matters stated herein.

                     2.      Veriff, Inc. was incorporated in Delaware on February 26, 2018. Veriff, Inc.’s

            headquarters and principal place of business is in the state of New York.

                     3.      Veriff does not have any offices, real estate, or bank accounts in the state of

            Illinois.
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                     I declare under penalty of perjury under the laws of the United States and the State of

            Illinois that the foregoing is true and correct.



                                     15-12-2021
                     Executed this ____________ day of December 2021 in Tallinn, Estonia.



                     By:     __________________________

                             Kaarel Kotkas

                             President, Veriff, Inc.




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                                                 CERTIFICATE OF SERVICE


                     The undersigned attorney hereby certifies that on December _________, 2021, she

            caused a true and correct copy of the foregoing DECLARATION OF KAAREL KOTKAS IN

            SUPPORT OF NOTICE OF REMOVAL to be filed electronically. Notice of this filing will be

            sent to all parties registered on this Court’s ECF system by operation of the Court’s electronic

            filing system. Parties may access this filing through the Court’s system.




                                                                    /s/ Debra R. Bernard
